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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA
______________________________
JAMES J. MCGUCKIN, Jr.         :
119 Villinger Ave.             :
Cinnaminson, NJ 08077          :
                               :
       Plaintiff,              :
                               :     CIVIL ACTION
       v.                      :
                               :
BUILDING CONTROL               :     No.: ____________________
SOLUTIONS, LLC                 :
9050 State Road                :
Philadelphia, PA 19136         :
       and                     :     JURY TRIAL DEMANDED
SANTA PAUL CORPORATION :
t/a LIMA COMPANY               :
9050 State Road                :
Philadelphia, PA 19136         :
                               :
       Defendants.             :
_____________________________ :

                                    CIVIL ACTION COMPLAINT

        Plaintiff, James J. McGuckin, Jr., by and through his undersigned counsel, hereby avers

as follows:

                                        I.       INTRODUCTION

        1.       Plaintiff has initiated this action to redress violations by Building Control

Solutions, LLC (hereinafter “Defendant BCS”) and Santa Paul Corporation t/a Lima Company

(hereinafter “Defendant Lima”) (hereinafter collectively referred to as “Defendants”) of the Age

Discrimination in Employment Act (“ADEA” - 29 U.S.C. §§ 621 et. seq.), the Pennsylvania

Wage Payment Collection Law (“WPCL”), Pennsylvania Human Relations Commission

(“PHRA”), the Philadelphia Fair Practices Ordinance (“PFPO”)1 and Pennsylvania Common


1
  Plaintiff will seek leave to amend the instant lawsuit to add claims under the Pennsylvania Human Relations Act
(“PHRA”) and the Philadelphia Fair Practices Ordinance (“PFPO”) once properly administratively exhausted.
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Law. As a direct consequence of Defendants’ unlawful actions, Plaintiff seeks damages as set

forth herein.

                                II.      JURISDICTION AND VENUE

        2.       This Court, in accordance with 28 U.S.C. § 1331, has jurisdiction over Plaintiff’s

claims because this civil action arises under laws of the United States.

        3.       This Court may properly maintain personal jurisdiction over Defendants because

Defendants’ contacts with this state and this judicial district are sufficient for the exercise of

jurisdiction over Defendants to comply with traditional notions of fair play and substantial

justice, satisfying the standard set forth by the United States Supreme Court in International Shoe

Co. v. Washington, 326 U.S. 310 (1945) and its progeny.

        4.       Pursuant to 28 U.S.C. § 1391(b)(1) and (b)(2), venue is properly laid in this

district because all of the acts and/or omissions giving rise to the claims set forth herein occurred

in this judicial district, and in addition, Defendants are deemed to reside where they are subject

to personal jurisdiction, rendering Defendants residents of the Eastern District of Pennsylvania.

        5.       Plaintiff is proceeding herein (in part) under the ADEA and has properly

exhausted his administrative remedies with respect to such claim by timely filing a Charge of

Discrimination with the Equal Employment Opportunity Commission (“EEOC”) and by filing

the instant lawsuit within ninety (90) days of receiving a notice of dismissal and/or right to sue

letter from the EEOC.




Plaintiff is however required to initiate this lawsuit pursuant to a right-to-sue letter prior to such exhaustion.
Plaintiff’s PHRA and PFPO claims will mirror identically his ADEA claims, and they are analyzed identically in the
Third Circuit as well.



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                                           III.   PARTIES

        6.       The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        7.       Plaintiff is an adult individual, with an address as set forth in the caption.

        8.       Defendant BCS is a corporation operating out of the above-referenced address

which purports to offer solutions for controlling, monitoring, and trending of commercial HVAC

heating, cooling, and domestic hot water and steam systems.

        9.       Defendant Lima is a corporation operating out of the above-referenced address

which engages in the business of providing commercial plumbing, HVAC, refrigeration and

mechanical services.

        10.      Upon information and belief, because of their interrelation of operations, common

ownership or management, centralized control of labor relations, common financial controls, and

other factors, Defendants are sufficiently interrelated and integrated in their activities, labor

relations, ownership and management that they may be treated as a single and/or joint employer

for purposes of the instant action. For example, but not intending to be an exhaustive list:

                     i. Plaintiff’s payroll reflected that he was an employee of Defendant BCS;

                    ii. Defendants operate out of the same physical location;

                    iii. Defendants have overlapping management;

                    iv. Plaintiff reported to management from both Defendants throughout his
                        tenure and was terminated by shared management and human resources of
                        both entities;

                     v. Management of Defendants refer interchangeably to the businesses by
                        their names for the same operation(s);

                    vi. Despite that Plaintiff was paid through Defendant BCS, he received
                        employee benefits (such as healthcare) through Defendant Lima;




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                vii. E-mail communications and documentation amongst team members and
                     management reflect the same integrated operation with employees of BCS
                     and Lima working with one another to perform their jobs; and

                viii. Plaintiff performed work as a functional employee of both entities

        11.   Collectively, these entities employee well in excess of 50 employees.

        12.   At all times relevant herein, Defendants acted by and through their agents,

servants and employees, each of whom acted at all times relevant herein in the course and scope

of their employment with and for Defendants.

                             IV.    FACTUAL BACKGROUND

        13.   The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        14.   Plaintiff is a 65-year-old male.

        15.   Plaintiff was hired by Defendants on or about August 27, 2018 as a Vice

President of Sales and Project Management; and in total, was employed with Defendants for

more than two years.

        16.   Throughout his employment, Plaintiff reported to high-level executives (and

owners) of Defendants, including but not limited to Nathan Kiger and Robert Lima.

        17.   Plaintiff was a hard-working employee for Defendants who performed

exceptionally well and received no disciplinary action or warnings throughout his employment.

        18.   Unfortunately, as Plaintiff’s employment progressed, he began to be subjected to

discriminatory treatment and commentary from Defendants’ management and employees.

        19.   By way of example, during the last approximate year of his employment, Plaintiff

was asked by Lima if he was “retiring soon,” and was made to feel as though there was a view

that his advanced age somehow limited his performance and dependability.




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       20.     There was also a mechanical engineer (“Ryan”) who repeatedly referred to

Plaintiff as being “old” or more commonly as “old man.”

       21.     Plaintiff complained at least 3 times to Defendants’ management and human

resources about this discriminatory commentary, even as late as the week preceding his

termination from employment.

       22.     Defendants’ human resources is overseen by Jenna Collier (Human Resources

Director).

       23.     Collier, who is responsible for handling HR matters for all of Defendants’

employees, is ill equipped for her role as HR Director, as she engages in unprofessional

discussions, has not created or disseminated any employee handbook for guidance to employees,

and fails to properly track paid time off /vacation and other commissions.

       24.     When Plaintiff complained to Collier about the discriminatory comments he was

subjected to, including in the week prior to his separation, Collier simply shrugged her shoulders

and stated she could not do or say anything about the situation because “everyone knows Ryan’s

dad (an executive in Acme Markets) gives us millions of dollars in business.”

       25.     In extremely close proximity to making his final complaints of discrimination, on

or about November 6, 2020, Plaintiff was terminated in a meeting with Kiger, Lima, Collier and

Sandy Narzikul (Administrative Assistant at Lima).

       26.     Upon being informed of his termination, Plaintiff was told his job was being

eliminated and Defendant BCS was being dissolved.

       27.     Within just weeks of his separation, however, Plaintiff came to learn that his

termination was entirely pretextual, as (a) BCS never dissolved; and (b) Plaintiff was

functionally replaced by a newly hired, significantly younger and less experienced individual




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named Karlo Radolovic (believed to be in his 30s), whom Plaintiff was informed had been

introducing himself as specifically replacing Plaintiff.

        28.     Therefore, Plaintiff believes and avers that he was truly terminated because of his

age and/or his complaints of age discrimination.

        29.     Moreover, in addition to being terminated because of his age and complaints of

age discrimination, Defendants also failed to properly pay Plaintiff for certain wages throughout

his employment.

        30.     Specifically, Plaintiff’s offer letter expressly states that he was to be paid “15 days

paid vacation” and “1.5% of gross profit from all sales after warranty period has expired.”

        31.     Despite these contractual guarantees, however, Plaintiff was not paid any

commissions throughout his employment, as owed.

        32.     Plaintiff was similarly not paid for the unused vacation time he was owed upon

his termination.

        33.     Defendants’ failure to pay these benefits is willful, and may very well have also

been the product of discrimination/retaliation, as the terms of Plaintiff’s employment contract

with Defendant are unambiguous and Defendants have continued in their failure to pay Plaintiff

for the wages owed to him despite Plaintiff making several requests for Defendants to cure its

aforementioned wage violations.

                                      First Cause of Action
              Violations of the Age Discrimination in Employment Act (“ADEA”)
                              (Age Discrimination and Retaliation)
                                    -Against All Defendants-

        34.     The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.




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        35.    As outlined supra, Plaintiff was terminated by Defendants in November 2020

because of his age and complaints of age discrimination.

        36.    These actions as aforesaid constitute unlawful discrimination under the ADEA.

                                   Second Cause of Action
          Violations of the Pennsylvania Wage Payment Collection Law (“WPCL”)
                                    (43 P.S. 260.3(a)-(b))
                                  -Against All Defendants-

        37.    The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        38.    Plaintiff had an agreement with Defendants whereby Defendants agreed to

compensate Plaintiff for services he performed during his employment.

        39.    Defendants failed to compensate Plaintiff for all wages owed during his

employment.

        40.    Plaintiff performed the agreed-upon services for Defendants, and Defendants

failed to properly compensate Plaintiff for the services rendered as specified by the Parties’

employment agreement (including paying Plaintiff “15 days paid vacation” and “1.5% of gross

profit from all sales after warranty period has expired”).

        41.    These actions as aforesaid constitute violations of the Pennsylvania Wage

Payment and Collection Law.

                                      Third Cause of Action
                                       Breach of Contract


        42.    The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        43.    Plaintiff had a very clear contract supported by adequate consideration, which was

documented in a mutually agreeable and executed memorialization, as described supra.



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       44.      Plaintiff performed all aspects of his agreement through termination by

performing work for Defendant, but Defendant repeatedly breached its obligations in

compensation and other terms and conditions as aforesaid.

       45.      Defendant’s actions as outlined in this Complaint constitute a breach of contract

and/or repeated breaches of contract.

       WHEREFORE, Plaintiff prays that this Court enter an Order providing that:

       A.       Defendants are to compensate Plaintiff, reimburse Plaintiff, and make Plaintiff

whole for any and all pay and benefits Plaintiff would have received had it not been for

Defendants’ illegal actions, including but not limited to back pay, front pay, salary, pay

increases, bonuses, insurance, benefits, training, promotions, reinstatement, and seniority.

       B.       Plaintiff is to be awarded punitive and/or liquidated damages, as permitted by

applicable law, in an amount believed by the Court or trier of fact to be appropriate to punish

Defendants for their willful, deliberate, malicious and outrageous conduct and to deter

Defendants or other employers from engaging in such misconduct in the future;

       C.       Plaintiff is to be accorded other equitable and legal relief as the Court deems just,

proper, and appropriate (including but not limited to damages for emotional distress / pain and

suffering);

       D.       Plaintiff is to be awarded the costs and expenses of this action and reasonable

attorney’s fees as provided by applicable federal and state law; and

       E.       Plaintiff is to be given a jury trial as demanded in the caption of this Complaint.




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                                           Respectfully submitted,

                                           KARPF, KARPF & CERUTTI, P.C.


                                    By:    __________________________
                                           Ari R. Karpf, Esq.
                                           3331 Street Rd.
                                           Bldg. 2, Ste. 128
                                           Bensalem, PA 19020

Date: June 1, 2021




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    Case 2:21-cv-02485-CFK Document 1 Filed 06/01/21 Page 10 of 12




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  SLNLOMON
                             Case 2:21-cv-02485-CFK
                                                UNITEDDocument   1 Filed
                                                       STATES DISTRICT   06/01/21 Page 11 of 12
                                                                       COURT
                                                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                           DESIGNATION FORM
                     (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

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Address of Plaintiff: ______________________________________________________________________________________________

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Address of Defendant: ____________________________________________________________________________________________
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Place of Accident, Incident or Transaction: ___________________________________________________________________________



RELATED CASE, IF ANY:

Case Number: ______________________________                      Judge: _________________________________                    Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                         Yes                    No X
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                        Yes                    No X
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier                           Yes                    No X
       numbered case pending or within one year previously terminated action of this court?

4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                        Yes                    No X
       case filed by the same individual?

I certify that, to my knowledge, the within case              is / X is not related to any case now pending or within one year previously terminated action in
this court except as noted above.
             SLNLOMON
DATE: __________________________________                      __________________________________________                               ARK2484 / 91538
                                                                                                                               ___________________________________
                                                                          Attorney-at-Law / Pro Se Plaintiff                               Attorney I.D. # (if applicable)


CIVIL:

A.            Federal Question Cases:                                                       B.    Diversity Jurisdiction Cases:

       1.     Indemnity Contract, Marine Contract, and All Other Contracts                        1.    Insurance Contract and Other Contracts
       2.     FELA                                                                                2.    Airplane Personal Injury
       3.     Jones Act-Personal Injury                                                           3.    Assault, Defamation
       4.     Antitrust                                                                           4.    Marine Personal Injury
       5.     Patent                                                                              5.    Motor Vehicle Personal Injury
       6.     Labor-Management Relations                                                          6.    Other Personal Injury (Please specify): _____________________
u      7.     Civil Rights                                                                        7.    Products Liability
       8.     Habeas Corpus                                                                       8.    Products Liability –Asbestos
       9.     Securities Act(s) Cases                                                             9.    All other Diversity Cases
       10.    Social Security Review Cases                                                              (Please specify): ____________________________________________
       11.    All other Federal Question Cases
              (Please specify): ____________________________________________



                                                                           ARBITRATION CERTIFICATION
                                                   (

     Ari R. Karpf
I, ____________________________________________ , counsel of record or pro se plaintiff, do hereby certify:

              Pursuant to Local Civil Rule 53.2, § 3(c ) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
     X
              exceed the sum of $150,000.00 exclusive of interest and costs:

              Relief other than monetary damages is sought.


            SLNLOMON
DATE: __________________________________                      _____________________________________ _____                            ARK2484 / 91538
                                                                                                                              ___________________________________
                                                                          Attorney-at-Law / Pro Se Plaintiff                              Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 ( /2018)
                                   Case 2:21-cv-02485-CFK Document 1 Filed 06/01/21 Page 12 of 12
JS 44 (Rev. 06/17)                                                          CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                            DEFENDANTS
                                                                                                            _rfiafkd=`lkqoli=plirqflkpI=ii`I=bq=^iK
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    (b) County of Residence of First Listed Plaintiff                  _ìêäáåÖíçå                             County of Residence of First Listed Defendant                mÜáä~ÇÉäéÜá~
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                      (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:         IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                            THE TRACT OF LAND INVOLVED.

  (c) Attorneys (Firm Name, Address, and Telephone Number)                                                    Attorneys (If Known)
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II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                        III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintif                                   f
                                                                                                         (For Diversity Cases Only)                                            and One Box for Defendant)
❒ 1    U.S. Government               u’ 3     Federal Question                                                                     PTF           DEF                                           PTF      DEF
          Plaintiff                              (U.S. Government Not a Party)                      Citizen of This State          ’ 1           ’ 1    Incorporated or Principal Place         ’ 4     ’ 4
                                                                                                                                                            of Business In This State

❒ 2    U.S. Government                   ’ 4 Diversity                                              Citizen of Another State          ’ 2         ’ 2   Incorporated and Principal Place      ’ 5      ’ 5
          Defendant                             (Indicate Citizenship of Parties in Item III)                                                               of Business In Another State

                                                                                                    Citizen or Subject of a           ’ 3         ’ 3   Foreign Nation                        ’ 6      ’ 6
                                                                                                      Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                                  Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                               TORTS                               FORFEITURE/PENALTY                            BANKRUPTCY                     OTHER STATUTES
❒   110 Insurance                         PERSONAL INJURY                 PERSONAL INJURY           ❒ 625 Drug Related Seizure              ’   422 Appeal 28 USC 158         ❒ 375 False Claims Act
❒   120 Marine                       ’    310 Airplane                  ❒ 365 Personal Injury -           of Property 21 USC 881            ’   423 Withdrawal                ’ 376 Qui Tam (31 USC
❒   130 Miller Act                   ’    315 Airplane Product                Product Liability     ❒ 690 Other                                     28 USC 157                       3729(a))
❒   140 Negotiable Instrument                  Liability                ❒ 367 Health Care/                                                                                   ❒ 400 State Reapportionment
❒   150 Recovery of Overpayment      ’    320 Assault, Libel &                Pharmaceutical                                                    PROPERTY RIGHTS              ❒ 410 Antitrust
        & Enforcement of Judgment              Slander                        Personal Injury                                               ❒ 820 Copyrights                 ❒ 430 Banks and Banking
❒   151 Medicare Act                 ’    330 Federal Employers’              Product Liability                                             ❒ 830 Patent                     ❒ 450 Commerce
❒   152 Recovery of Defaulted                  Liability                ❒ 368 Asbestos Personal                                             ❒ 835 Patent - Abbreviated       ❒ 460 Deportation
        Student Loans                ’    340 Marine                          Injury Product                                                       New Drug Application      ❒ 470 Racketeer Influenced and
        (Excludes Veterans)          ’    345 Marine Product                  Liability                                                     ❒ 840 Trademark                         Corrupt Organizations
❒   153 Recovery of Overpayment                Liability                 PERSONAL PROPERTY                       LABOR                         SOCIAL SECURITY               ❒ 480 Consumer Credit
        of Veteran’s Benefits        ’    350 Motor Vehicle             ❒ 370 Other Fraud           ❒ 710 Fair Labor Standards              ’ 861 HIA (1395ff)               ❒ 490 Cable/Sat TV
❒   160 Stockholders’ Suits          ’    355 Motor Vehicle             ❒ 371 Truth in Lending              Act                             ❒ 862 Black Lung (923)           ❒ 850 Securities/Commodities/
❒   190 Other Contract                        Product Liability         ❒ 380 Other Personal        ❒ 720 Labor/Management                  ’ 863 DIWC/DIWW (405(g))                 Exchange
❒   195 Contract Product Liability   ’    360 Other Personal                  Property Damage               Relations                       ❒ 864 SSID Title XVI             ❒ 890 Other Statutory Actions
❒   196 Franchise                             Injury                    ❒ 385 Property Damage       ❒ 740 Railway Labor Act                 ’ 865 RSI (405(g))               ❒ 891 Agricultural Acts
                                     ’    362 Personal Injury -               Product Liability      ’ 751 Family and Medical                                                ❒ 893 Environmental Matters
                                              Medical Malpractice                                           Leave Act                                                        ❒ 895 Freedom of Information
        REAL PROPERTY                       CIVIL RIGHTS                 PRISONER PETITIONS         ❒ 790 Other Labor Litigation              FEDERAL TAX SUITS                      Act
❒   210 Land Condemnation            ❒    440 Other Civil Rights          Habeas Corpus:            ❒ 791 Employee Retirement               ❒ 870 Taxes (U.S. Plaintiff      ❒ 896 Arbitration
❒   220 Foreclosure                  ❒    441 Voting                    ❒ 463 Alien Detainee               Income Security Act                     or Defendant)             ❒ 899 Administrative Procedure
❒   230 Rent Lease & Ejectment       ❒
                                     u    442 Employment                ❒ 510 Motions to Vacate                                             ❒ 871 IRS—Third Party                   Act/Review or Appeal of
❒   240 Torts to Land                ❒    443 Housing/                        Sentence                                                             26 USC 7609                      Agency Decision
❒   245 Tort Product Liability                Accommodations            ❒ 530 General                                                                                        ❒ 950 Constitutionality of
❒   290 All Other Real Property      ❒    445 Amer. w/Disabilities -    ❒ 535 Death Penalty               IMMIGRATION                                                               State Statutes
                                              Employment                  Other:                    ❒ 462 Naturalization Application
                                     ❒    446 Amer. w/Disabilities -    ❒ 540 Mandamus & Other      ❒ 465 Other Immigration
                                              Other                     ❒ 550 Civil Rights                Actions
                                     ❒    448 Education                 ❒ 555 Prison Condition
                                                                        ❒ 560 Civil Detainee -
                                                                              Conditions of
                                                                              Confinement

V. ORIGIN (Place an “X” in One Box Only)
u
’ 1 Original    ❒ 2 Removed from                            ❒    3     Remanded from            ❒ 4 Reinstated or       ’     5 Transferred from    ❒ 6 Multidistrict                  ❒ 8 Multidistrict
        Proceeding                State Court                          Appellate Court              Reopened                    Another District           Litigation -                    Litigation -
                                                                                                                            (specify)                      Transfer                        Direct File
                                            Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
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VI. CAUSE OF ACTION Brief description of cause:
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VII. REQUESTED IN     ❒ CHECK IF THIS IS A CLASS ACTION    DEMAND $                   CHECK YES only if demanded in complaint:
     COMPLAINT:           UNDER RULE 23, F.R.Cv.P.                                    JURY DEMAND:        u’ Yes      ’ No
VIII. RELATED CASE(S)
                        (See instructions):
      IF ANY                                JUDGE                                DOCKET NUMBER
DATE                                                                      SIGNATURE OF ATTORNEY OF RECORD
            SLNLOMON
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                      APPLYING IFP                                    JUDGE                              MAG. JUDGE

                  Print                                 Save As...                                                                                                                  Reset
